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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                         March 14, 2022
                            UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

JACQUELINE G. MARTINEZ,                          §
                                                 §
         Plaintiffs,                             §
                                                 §
VS.                                              § CIVIL ACTION NO. 7:21-cv-00450
                                                 §
FAMSA FINANCIAL, INC.,                           §
                                                 §
         Defendant.                              §

                                             ORDER

         The Court now considers “Plaintiff’s Status Report.”1 On February 1, 2022, Plaintiff filed

a motion for Entry of Clerk’s Default.2 On February 2, 2022, the Clerk entered a default against

Defendant3 and the Court ordered the parties to appear for a status conference on March 21, 2022.4

Plaintiff now avers that she “intends on filing a motion for default judgment by March 25, 2022 if

Defendant does not appear and vacate the entry of default by then.”5 Accordingly, the Court hereby

CONTINUES the status conference currently set for March 21, 2022 to April 19, 2022 at 9 a.m.

and ORDERS Plaintiff to file a status report no later than April 8, 2022.

         IT IS SO ORDERED.

         DONE at McAllen, Texas, this 14th day of March 2022.


                                                    __________________________________
                                                                Micaela Alvarez
                                                           United States District Judge



1
  Dkt. No. 17.
2
  Dkt. No. 13.
3
  Dkt. No. 16.
4
  Dkt. No. 15.
5
  Dkt. No. 17 at 2.


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